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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION                                                            ENTERED
                                                                                                                   04/12/2021
                                                              §
In re:                                                        §   Chapter 11
                                                              §
WATSON GRINDING &                                             §   Case No. 20-30967
MANUFACTURING CO.,                                            §
                                                              §
                    Debtor.                                   §

       ORDER SUSTAINING LIQUIDATING TRUSTEE’S OMNIBUS OBJECTION TO
                  DUPLICATE LITIGATION PROOFS OF CLAIM
                            [Relates to Doc. No. ]

           UPON CONSIDERATION of the Liquidating Trustee’s Omnibus Objection to Duplicate

Litigation Proofs of Claim (the “Objection”),1 and this Court having jurisdiction to consider the

Objection, and venue being proper, and due and sufficient notice of the Objection having been

given; and after due deliberation thereon, it is HEREBY ORDERED THAT:

           1.      Each Duplicate Claim identified in Schedule 1 to the Objection is disallowed;

provided, that this Order will not affect the January 24 Claims asserted by the claimants listed in

Schedule 1 which are being prosecuted in state court.

           2.      Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitute a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each Duplicate Claim.

           3.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed (i) an admission by the Debtors or the

Liquidating Trustee as to the validity or amount of any January 24 Claim against the Debtors, or

(ii) an adjudication of the validity or amount of any January 24 Claim pending in state court.



1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Objection.


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        4.      The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

        5.      The Liquidating Trustee is authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Objection.

        6.      This Court shall retain exclusive jurisdiction to resolve any dispute arising from

or related to this Order.


Dated: _________________, 2021
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       Houston,  12, 17,
                     2021
                 Texas
           October       2018                           
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